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In the Gnited States Court of Federal Clarns

 

No. 07-328C
(Filed September 4, 2014)
NOT FOR PUBLICATION FILED
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* U.S. COURT OF
FEDERAL CLAIMS
MURRAY R. BERKOWITZ, e
*
Plaintiff, *
Vv. *
*
THE UNITED STATES, *
*
Defendant. 7
*
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MEMORANDUM OPINION AND ORDER
WOLSKI, Judge.

Plaintiff, Dr. Murray R. Berkowitz, claims the Army improperly denied him a
medical retirement. Doctor Berkowitz, a major in the U.S. Army Medical Corps,
developed sleep apnea, as well as related health problems, which prevented his
continued military service. When plaintiff was discharged he was given a 0%
disability rating. He was then honorably discharged and medically separated from
the Army with severance pay. Plaintiff, however, claims the Physical Evaluation
Board (PEB) erred in its findings, ignored relevant evidence, and failed to follow
proper procedures. He argues that he was entitled to a higher disability rating, and
also claims he was entitled to certain veterans’ education benefits. Both parties
have moved for judgment on the administrative record under Rule 52.1 of the Rules
of the United States Court of Federal Claims (RCFC). The government also moved
to dismiss plaintiff's veterans’ benefit claim. For the reasons that follow, the motion
to dismiss plaintiffs education benefits claim is GRANTED; defendant’s motion for
judgment on the administrative record regarding plaintiffs other claims is
DENIED; and plaintiffs motion for judgment on the administrative record is
GRANTED.!

 

1 Plaintiff also filed a motion for a preliminary injunction, asking the Court to order
the government to stop withholding certain monies from his veterans’ disability
payments. Because this opinion resolves Dr. Berkowitz’s claim in its entirety, his
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I. BACKGROUND

A, Statement of Facts

Plaintiff served in the United States Armed Forces from 1975, or earlier,
until his medical discharge on April 23, 2000.2 Def.’s Rule 52.1 Statement of Facts
(Def.’s Stat.) 9 2, 33; Pl.’s Resp. and Counter-Statement of Facts (Pl.’s Counter-
Stat.) 99 2, 33. He eventually earned the rank of major in the Army Medical Corps.
Def.’s Stat. ¢§ 2-7; Pl.’s Counter-Stat. {§ 2-7. Plaintiff entered the Army Reserve
on October 14, 1979, and was discharged on January 28, 1981, in order to join the
United States Air Force Reserve. Admin. R. (AR) at 341, 346-47. He continued to
serve in the Air Force in a reserve capacity until January 27, 1991, and then served
on active duty while participating in Operations Desert Shield and Desert Storm.
AR at 200. While in the Air Force, he was promoted to lieutenant colonel. AR at
13, 117. Plaintiff was discharged from active duty in the Air Force and re-entered
the Army Reserve in the rank of lieutenant colonel in order to participate in the
U.S. Army Health Professions Scholarship Program (HPSP) and begin his
professional schooling. AR at 14-15, 200, 255-56. After completing this program,
Dr. Berkowitz re-entered active duty in the Army as a major in the medical service
corps. AR at 257-59, 269. He was still serving as a major when he was discharged
in April of 2000. AR at 103.

In 1997, Dr. Berkowitz was diagnosed with severe obstructive sleep apnea,
and a Medical Evaluation Board (MEB) was convened to evaluate him. Def.’s Stat.
{1 8, 10; Pl.’s Counter-Stat. §{ 8, 10. During the MEB evaluation, plaintiff was
evaluated by several specialists. Doctor Sydnor-Greenberg examined Dr. Berkowitz
and concluded that although he “is still functioning in the very superior range of
intelligence ... there is evidence of inattention and slowed processing as well as
executive dysfunction.” AR at 173.

Doctor Richard Bransdorf, who also examined plaintiff during his MEB
processing, concluded that plaintiff had “marked cognitive and memory deficits

 

motion for a preliminary injunction is DENIED as moot. See Fundicao Tupy S.A. v.
United States, 840 F.2d. 1101, 1104 (Fed. Cir. 1988) (entry of final judgment
renders moot a preliminary injunction).

2 There is some ambiguity in the record regarding Dr. Berkowitz’s entry into
military service. One form indicates that he had sixty-months of enlisted service
prior to his being commissioned in August of 1976. Admin. R. (AR) at 199. Another
form indicates that he began his service in February of 1975, but makes no
reference to sixty months of enlisted service prior to his commissioning. AR at 272.
Because either date would afford plaintiff the relief he seeks, we need not decide
which date is the correct one.
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which have caused him great difficulty in learning to become a physician.” AR at
180. Doctor Bransdorf felt these deficits were “due in all likelihood to his sleep
apnea,” which made plaintiffs impairment for social and industrial adaptability
“Ts]levere, as manifested by his inability to function as a physician, electrical
engineer, or military officer.” AR at 180. The doctor further concluded that Major
Berkowitz suffered from “[m]ixed (predominantly obstructive with some central
component) sleep apnea,” and that it was unlikely that he would be able to continue
his military service. Id.

Doctor Overfield, who also examined Major Berkowitz, noted that while
plaintiffs condition stabilized after being treated with continuous positive airway
pressure (CPAP), he had not returned to normal. AR at 159. Doctor Overfield
diagnosed plaintiff as having “[s]ubtle cognitive decline,” which he thought was “due
to cerebral hypoxia secondary to his severe obstructive sleep apnea.” Id. Two
neurologists, Drs. Lerew and Mulligan, evaluated plaintiff, see AR at 161-66, and
issued a report “intended as a confirmatory supplement” to previous examinations,
AR at 163. These neurologists concluded that the various test results “support the
hypothesis that the patient suffered brain damage during the months that his sleep
apnea went undiagnosed, but a definitive conclusion of etiology may not be
realistically possible.” AR at 165. The neurologists’ report confirmed the findings of
Dr. Sydnor-Greenberg and Dr. Bransdorf. Id.

Based upon these examinations, the MEB concluded that Dr. Berkowitz
suffered from “[mJarked cognitive and memory deficits” leading to a severe degree of
impairment. AR at 56, 127-32. The MEB diagnosed Dr. Berkowitz with severe
impairment for social and industrial adaptability; mixed sleep apnea; mild
Attention Deficit Disorder; severe Breathing Related Sleep Disorder with marked
impairment for civilian, social, and industrial adaptability; and moderate cognitive
disorder with marked impairment for military duty and severe impairment for
civilian, social, and industrial adaptability. AR at 127. The MEB report was
approved on December 21, 1998, and it recommended that plaintiffs case be
referred to an informal Physical Evaluation Board for further proceedings. AR at
127, 132.

The informal PEB examined plaintiff and found that he suffered from “mixed
sleep apnea, obstructive with a central component requiring CPAP with breathing
related sleep disorder and a cognitive disorder.” AR at 133. It also found that
plaintiffs level of industrial impairment due to sleep apnea was mild and that he
was physically unfit for duty and recommended that he be separated with severance
pay and a disability rating of 0%. Id. It further held that plaintiffs impairment
was not the “direct result of armed conflict or caused by an instrumentality of war,”
id., and thus his benefits were not tax-free, see 26 U.S.C. § 104(b)(2).

Plaintiff contested the informal PEB’s findings and requested a formal PEB
hearing to review them. AR at 134-36. He submitted several additional medical

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reports to the formal PEB, including a memorandum from Dr. Margery Myers at
the Gulf War Health Center. Doctor Myers stated that she examined Major
Berkowitz in 1997 and believed that his case “very much fits into the pattern of Gulf
War Illness,” as the symptoms in his medical records “are consistent with Gulf War
Syndrome and are felt to be the direct result of his wartime service.” AR at 61-62;
Def.’s Stat. § 22; Pl.’s Counter-Stat. J 22. Plaintiff also offered an opinion from Dr.
Konrad Bakker, who wondered “if the patient’s obstructive sleep apnea has not been
optimally treated or there is another cause for the patient’s cognitive decline other
than the sleep apnea,” AR at 88; and the opinion of Dr. Charles Privitera, who
stated that the cause of the plaintiff's impairment is “unknown,” AR at 85; Def.’s
Stat. § 22; Pl.’s Counter-Stat. § 22. After reviewing all submitted materials,
including the additional materials submitted by plaintiff, the formal PEB affirmed
the informal board’s conclusions and recommendations. AR at 137-88; Def.’s Stat.

{| 27; Pl’s Counter-Stat. 4 27.

Plaintiff contested the formal PEB’s decision and submitted a rebuttal to its
findings. Def.’s Stat. § 28; Pl.’s Counter-Stat. J 28. Plaintiff then appealed his case
to the United States Army Physical Disability Agency (USAPDA). Def.’s Stat. { 29;
Pl.’s Counter-Stat. § 29. The USAPDA upheld the formal PEB decision on January
14, 2000, stating the findings were “supported by substantial evidence,” did not
violate regulations or directives, and “were not arbitrary or capricious.” AR at 102;
Def.’s Stat. § 29; Pl.’s Counter-Stat. { 29.

Plaintiff next applied for relief with the Army Board for Correction of
Military Records (ABCMR) on January 17, 2000. Def.’s Stat. 4 30; Pl.’s Counter-
Stat. § 30. Plaintiff again submitted additional medical opinions in support of his
application. Def.’s Stat. § 30; Pl.’s Counter-Stat. § 30. The Army Review Board’s
Agency Medical Advisor concurred with the PEB findings, AR at 114-15, and
plaintiff submitted rebuttal materials in response, AR at 105-12; Def.’s Stat. { 31;
Pl.’s Counter-Stat. § 31. The ABCMR rejected his petition for relief. AR at 100—
104.

Following the ABCMR’s decision, Dr. Berkowitz was medically discharged
from the Army with a disability rating of 0% on April 23, 2000. AR at 24. Plaintiffs
discharge was “Honorable,” and he was entitled to $137,390.40 in disability
severance pay at the pay grade of lieutenant colonel. Def.’s Stat. { 33; Pl.’s Counter-
Stat. J 33; AR at 24, 26. He twice sought reconsideration with the ABCMR. It
denied both requests, stating that plaintiff had not submitted new evidence that
was not previously available to the board. Def.’s Stat. § 34; Pl.’s Counter-Stat. 4/34.

Doctor Berkowitz then filed an original disability claim with the Veterans
Administration (VA) on July 28, 2000. Def.’s Stat. § 35; Pl.’s Counter-Stat. J 35.
Shortly following his discharge, based on plaintiffs medical records, as well as VA
examinations of plaintiff, the VA determined that Dr. Berkowitz was entitled to VA
benefits of 50% for sleep apnea disorder, 50% for cognitive disorder and attention

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deficit disorder, 10% per hand for his carpal tunnel syndrome, 10% for lumbosacral
strain with degenerative changes, and 10% for hypertension. AR at 38-44. The VA
concluded that all of these conditions were related to his military service. Id. After
the subsequent addition of another 40% disability rating for chronic fatigue
syndrome, he was assigned a final disability rating of 90%. AR at 33-36.

B. Procedural History

Plaintiff, proceeding pro se, initially filed his complaint in the United States
District Court for the District of Maryland. The district court transferred his case
to the Court of Federal Claims pursuant to 28 U.S.C. § 1631, and plaintiffs new
complaint was timely filed under RCFC 3.1(a). Plaintiff alleges that the PEB
ignored medical evaluations and evidence indicating that his medical conditions
arose from his service in the Persian Gulf War, and that the United States Army
denied him certain benefits related to his medical disability including a medical
retirement. See Compl. {{ 4-13. He requests that the Court order the government
to: (1) provide him certain veterans education benefits he is presently being denied;
(2) increase his disability rating above the 30% threshold, entitling him to a medical
retirement; and (3) exclude his disability benefits from his gross income. Id. { 14.

The government has filed a motion to dismiss plaintiff's claim concerning the
GI Bill educational benefits and a motion for judgment on the administrative record
concerning plaintiffs other claims. Plaintiff filed an opposition to both motions, as
well as a “Motion for a Directed Verdict” which the Court has elected to treat as a
cross-motion for judgment on the administrative record. The Court has heard
multiple oral arguments and, in light of plaintiffs pro se status, has permitted the
filing of nearly a score of supplemental papers. The matter is, to say the least, fully
briefed.

II. DISCUSSION

A. The Government’s Motion for Partial Dismissal for Lack of Subject-
Matter Jurisdiction

Under RCFC 12(b)(1), claims brought before this court must be dismissed
when it is shown that the court lacks jurisdiction over their subject matter. When
considering a motion to dismiss for lack of subject-matter jurisdiction, courts will
normally accept as true all factual allegations made by the pleader and draw all
reasonable inferences in the light most favorable to that party. See Scheuer v.
Rhodes, 416 U.S. 232, 236 (1974); Pixton v. B&B Plastics, Inc., 291 F.3d 1324, 13826
(Fed. Cir. 2002); CBY Design Builders v. United States, 105 Fed. Cl. 303, 325 (2012).

While a pro se plaintiffs filings are to be liberally construed, see Erickson v.
Pardus, 551 U.S. 89, 94 (2007), this lenient standard cannot save claims which are
outside the court’s jurisdiction from being dismissed, see Henke v. United States, 60
F.3d 795, 799 (Fed. Cir. 1995). The party invoking a court’s jurisdiction bears the

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burden of establishing it, and must ultimately do so by a preponderance of the
evidence. See McNutt v. GMAC, 298 U.S. 178, 189 (1986); Reynolds v. Army & Air
Force Exch. Serv., 846 F.2d 746, 748 (Fed. Cir, 1998); Rocovich v. United States, 933
F.2d 991, 993 (Fed. Cir. 1991).

The government argues that we do not possess subject-matter jurisdiction to
review the denial of plaintiff's claim for VA education benefits. Def.’s Mot. to
Dismiss in Part and for J. on Admin. R. (Def.’s Mot.) at 18. The government 1s
correct. Even assuming, as plaintiff argues, that the only reason he is being denied
such benefits is because the Army failed to inform him of the program (as required
by Army Regulation 735-40 9 3-8(a)(5)), that would do nothing to cure the
jurisdictional defect. Pl.’s Resp. to Def.’s Mot. to Dismiss in Part and for J. on
Admin. R. and Mot. for a Directed Verdict (Pl.’s Resp.) at 1-2. Disputes concerning
veterans’ benefits are handled internally by the VA, with appeal to the United
States Court of Appeals for Veterans Claims. See 88 U.S.C. § 7252. Decisions of
that court in turn can be appealed to the Federal Circuit. See 38 U.S.C. § 7292.
“Claims for veterans’ benefits are not within the jurisdiction of the Court of Federal
Claims.” Van Allen v. United States, 66 Fed. Cl. 294, 296 (2005). Accordingly, the
government’s motion to dismiss the education benefits claim is GRANTED.

B. The Cross-Motions for Judgment on the Administrative Record
1, Standard of Review

A motion for judgment on the administrative record under RCFC 52.1 differs
from a motion for summary judgment under RCFC 56, as the existence of genuine
issues of material fact does not preclude judgment on the administrative record.
See Bannum, Inc. v. United States, 404 F.3d 1346, 1855-56 (Fed. Cir. 2005); Fort
Carson Support Servs. v. United States, 71 Fed. Cl. 571, 585 (2006). Rather, a
motion for judgment on the administrative record examines whether the
administrative body, given all the disputed and undisputed facts appearing in the
record, acted in a manner that complied with the legal standards governing the
decision under review. See Fort Carson, 71 Fed. Cl. at 585; Greene v. United States,
65 Fed. Cl. 375, 383 (2005); Arch Chems., Inc. v. United States, 64 Fed. Cl. 380, 388
(2005). Factual findings are based on the evidence in the record, “as if [the Court]
were conducting a trial on the record.” Bannum, 404 F.3d at 1357; see also
Carahsoft Tech. Corp. v. United States, 86 Fed. Cl. 325, 337 (2009); Gulf Grp. Inc. v.
United States, 61 Fed. Cl. 338, 350 (2004).

 

3 Plaintiffs other claims are clearly within our subject-matter jurisdiction. Fisher
v. United States, 402 F.3d 1167, 1174 (Fed. Cir. 2005) (finding 10 U.S.C. § 1201 to
be a money-mandating statute that can support jurisdiction in this court).
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The administrative decision will be upheld unless it is arbitrary, capricious,
an abuse of discretion, otherwise not in accordance with law, procedurally defective,
or unsupported by evidence in the record. Gulf Grp., 61 Fed. Cl. at 351. A
reviewing court can overturn a board’s decision if it finds that the board based its
decision on an incorrect interpretation of the applicable law, as “the right to
determine questions of law ... is the exclusive province of the courts.” Tyson v.
United States, 91 Ct. Cl, 139, 141-44 (1940).

2. Plaintiff's Claim for a Medical Retirement

Plaintiff argues that he is entitled to a medical retirement, rather than a
medical separation. He contends that his disability rating should be increased
(beyond the 30% threshold necessary for a medical retirement) to correctly account
for his sleep apnea and associated cognitive conditions, chronic fatigue syndrome,
hypertension, carpal tunnel syndrome, and lumbosacral strain; and that defendant
should provide him back pay and interest reflecting a medical retirement. Compl.
{ 14; Pl.’s Resp. at 5-10. Plaintiff makes four arguments in support of this claim.5
First, he argues that the PEB’s conclusion that his sleep apnea was “mild” and thus
required a 0% rating was not supported by substantial evidence. Second, he argues
that the PEB committed various procedural errors in reaching the conclusion that
his sleep apnea was mild. Third, he argues that the PEB improperly failed to
award him a disability rating based on all of his medical conditions. Fourth,
plaintiff argues that the PEB applied the wrong legal standard when it rated his
sleep apnea.

The Court agrees with plaintiffs fourth argument: the board applied an
improper legal standard when it rated his sleep apnea, and the matter must be
remanded so the proper standard can be applied. As a result, we need not reach
plaintiffs first and second arguments --- his challenge to the board’s conclusion that
plaintiffs sleep apnea was “mild” and thus only entitled him to a 0% rating, and his
contention that various procedural errors were committed in reaching this result.
But plaintiffs third argument --- that the board erred by only assigning him a
disability rating for his sleep apnea and ignoring his other conditions --- must still
be addressed, and is considered first.

 

4 A medical separation is awarded to a service member who is found to be medically
unfit for continued service, but is awarded a disability rating of less than 30%. 10

U.S.C. § 1203(b)(4)(A).

5 These arguments mainly disputed the way the board weighed evidence --- such as
its having given greater weight to the opinions of more junior, as opposed to more
senior, medical officers. See Pl.’s Resp. at 5, 9.
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Plaintiff claims that the board improperly refused to assign him a disability
rating for his cognitive disorder on the ground that the disorder was caused by his
sleep apnea. Compl. { 14. A review of the record does not support plaintiff's
contention that the two conditions should have been found to be unrelated. All of
the medical professionals who offered an opinion on this point either thought sleep
apnea caused his cognitive disorder, or they were unsure of its cause. See AR at 85,
87-88, 128, 137, 159, 165, 173, 180. The board’s conclusion that plaintiffs sleep
apnea was the cause of his cognitive problems is clearly supported by substantial
evidence. Therefore, plaintiffs contention that the PEB erred in not assigning him
a disability rating for his cognitive disorder is rejected.

Plaintiff also makes the related argument that the PEB erred by refusing to
adjust his disability rating to account for the other medical problems that the VA
determined to have been incurred in the line of duty. Compl. { 14. There is no
evidence, however, that any of these conditions rendered him unfit for service, or
contributed to his lack of fitness. See AR at 137 (PEB finding the unfitting
condition to be “[m]ixed sleep apnea with a central component, requiring CPAP with
a breathing related sleep disorder and a cognitive disorder, not otherwise
specified”). Thus, the PEB properly excluded them from the computation of
plaintiffs disability percentage. See Army Reg. 635-40, App. B-3(a) (“Once a soldier
is determined to be physically unfit for further military service, percentage ratings
are applied to the unfitting conditions from the VASRD.” (emphasis added)).®

Plaintiffs fourth argument is that the PEB was required to follow the
VASRD as promulgated by the VA. Instead of doing so, he claims that the
Department of Defense (DOD) improperly developed its own interpretative
regulations, under which he received a lower disability rating. Pl.’s Reply Br. (Pl.’s
Reply), ECF No. 47, at 11—13; Pl.’s Reply to Def.’s Supp’! Br., ECF No. 67, at 36.

The VASRD provides the following four disability levels and rating criteria
for sleep apnea syndromes, under diagnostic code 6847:

Chronic respiratory failure with carbon dioxide retention or cor
pulmonale, or; requires tracheostomy ------------------------+++-------+ 100%

Requires use of breathing assistance device such as continuous
airway pressure (CPAP) machine --------------+-+--+-+--- 2020-22202 2o no 50%

Persistent day--time hypersomnolence ------------------------+++=+---- 30%

Asymptomatic but with documented sleep disorder breathing -- 0%

 

6 This regulation was not clearly inconsistent with the version of the medical
retirement statute then in effect. See 10 U.S.C. § 1201(a)—(b) (2000).
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38 C.F.R. § 4.97 (2000). It is undisputed that Dr. Berkowitz’s condition requires the
use of a CPAP machine. The VA therefore awarded him a 50% rating for sleep
apnea. AR at 38-40.

The determination by a military service secretary that a member should be
medically retired is governed by 10 U.S.C. § 1201. That section provides that a
member is to be medically retired if, inter alia, “the disability is at least 30 percent
under the standard schedule of rating disabilities in use by the Department of
Veterans Affairs at the time of the determination.” 10 U.S.C. § 1201(b)(3)(B) (2012)
(emphasis added).? Congress thus clearly and unambiguously required service
secretaries to use the VASRD rating schedule. This would not appear to preclude
the armed services from interpreting any ambiguous standards employed in the
VASRD schedule, and the Federal Circuit has acknowledged that a “Secretary may
make upward departures from the VASRD guidelines in particular cases.”
McHenry v. United States, 367 F.8d 1370, 1379 (Fed. Cir. 2004).

A DOD Instruction, issued slightly more than two months after the VA
published its final rule adding sleep apnea syndromes to the VASRD schedule,
contained an enclosure which described itself as “a supplement to the VASRD that
contains principles for rating disabilities where additional guidance or clarification
is needed for processing active duty and Reserve military disability cases.” DODI
1332.39, Enclosure 2 § E2.1.1 (1996). Under this enclosure, “the VASRD is the
starting point and initial guidance for an impairment rating,” but “[b]ecause the
enclosure modifies selected VASRD ratings, it is the final reference for impairment
adjudications.” Id., J E2.1.2. The special instruction for sleep apnea syndromes,
diagnostic code 6847, provides:

The VASRD lists four percentage rating options: 0%, 30%, 50%, and
100% under this code, corresponding to assessed levels of disability
relative to civilian earning capacity due to Sleep Apnea. The following
interpretation will apply:

Total industrial impairment 100%
Considerable industrial impairment 50%
Definite industrial impairment 30%

Mild industrial impairment 0%

 

7 The medical separation provision, 10 U.S.C. § 1203, similarly requires
determinations to be “under the standard schedule of rating disabilities in use by
the Department of Veterans Affairs,” but applies to members whose disability
rating was less than 30% or was not service-related. See 10 U.S.C. § 1203(b)(4)(A)—
(C) (2012),
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Id., | E2.A1.2.21. Applying this schedule, which does not reference a breathing
assistance device, the PEB assigned plaintiff a 0% rating. AR at 133. Thus, the
Army assigned plaintiff a different disability rating than he would (and, in fact, did)
receive under the VASRD schedule. The question for the Court is whether this
application of the DOD interpretative instruction violates 10 U.S.C. § 1201(b)(3)(B).

The government offers two justifications for this application of the DOD sleep
apnea instruction. First, defendant cites the authority given to each military
service secretary under 10 U.S.C. § 1216(a) to “prescribe regulations to carry out
this chapter within his department.” See Def.’s Surreply, ECF No. 91 (Def.’s
Surreply), at 2. This includes “all powers, functions and duties incident to
determination under this chapter of... the percentage of disability of any such
member at the time of his separation from active duty.” Def.’s Surreply at 2
(quoting 10 U.S.C. § 1216(b)(2)). Defendant contends that this regulatory authority,
combined with the long history of military departments issuing regulations that
vary from the VASRD, are sufficient to make the disability determination lawful.
Id. at 2-6.

The problem with this argument is that, under chapter 61 of title 10, the
percentage disability determination for purposes of medical retirement or
separation is unambiguously required to be made “under the standard schedule of
rating disabilities in use by the Department of Veterans Affairs at the time of the
determination.” 10 U.S.C. §§ 1201(b)(8)(B), 1203(b)(4)(A)-(C). A regulation does
not “carry out” that provision if it disregards the criteria employed in the VASRD
and replaces them with a different set of standards, nor can such an action be
considered “incident to” a determination under the disregarded schedule. A
requirement that a particular schedule be used is not implemented by a regulation
that ignores the schedule, and --- when Congress imposes such a limitation on
authority --- actions which sidestep that requirement can hardly be within the
power delegated to the executive branch.

This is not to say that when the VASRD schedule employs ambiguous
terminology, the service branches are powerless to interpret it. But there is no
ambiguity in the VASRD schedule’s treatment of service members whose sleep
apnea “[r]equires use of [a] breathing assistance device such as [a] continuous
airway pressure (CPAP) machine” --- this entitles the individual to a 50% disability
rating. 38 C.F.R. § 4.97, Code 6847. Unlike the standard in its place in the
enclosure to DODI 1332.39, this is clear and straightforward. The Court also notes
that, at the time the DOD instruction issued, service secretaries could depart from
the VASRD if this would treat service members more generously. See McHenry, 367
F.3d at 1879.8 Thus, were the sleep apnea instruction to be used in addition to the

 

8 As we shall see, the power to prescribe criteria for such departures is now jointly
shared by the Secretaries of Defense and of Veterans Affairs. See 10 U.S.C.
§ 1216a(a)(2).

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VASRD, so that a member who did not use a CPAP machine could still receive a
50% rating when suffering “[c]onsiderable industrial impairment,” this would not
violate the section 1201 mandate. But in Dr. Berkowitz’s case, the DOD instruction
was not used to supplement the VASRD schedule, but supplanted it.

The government maintains, nevertheless, that its application of the DOD
instruction regarding sleep apnea was consistent with 10 U.S.C. § 1201, because the
instruction employs the “structure” of the VASRD. Oral Argument (February 11,
2014). By this, defendant seems to mean that the “percentage levels are the same
as those that appear in the VASRD.” Def.’s Surreply at 4. But stripping the
VASRD ratings of their definitions and substituting different ones does not
constitute an “interpretation” of those ratings, even if the DOD calls it one. It is
simply not possible to read “the disability is at least 30 percent under the standard
schedule of rating disabilities in use by the Department of Veterans Affairs at the
time of the determination,” 10 U.S.C, § 1201(b)(3)(B), to mean that only the rating
percentages, but not the criteria which determine them, must be used.

The second justification offered by the government is difficult to understand.
In short, its contention appears to be that a statute passed by Congress more than a
half century after the enactment of section 1201 “implicitly acknowledged and
condoned” departures from that section’s plain requirements, Def.’s Supp’! Br., ECF
No. 104, at 5, because the latter statute prohibits such departures. See also Def.’s
Surreply at 5-6. In 2008, changes to the military disability evaluation system were
enacted. The new provision emphasized that the service secretaries “shall, to the
extent feasible, utilize the schedule for rating disabilities in use by the Department
of Veterans Affairs, including any applicable interpretation of the schedule by the
United States Court of Appeals for Veterans Claims.” 10 U.S.C. § 1216a(a)(1)(A).
To further drive home the point, Congress explicitly mandated that the secretaries
“may not deviate from the schedule” except when the Secretary of Defense and
Secretary of Veterans Affairs jointly agree to adopt criteria that would increase the
disability rating for a service member. Id. § 1216a(a)(1)(B), (a)(2). The government
argues that if section 1201 is interpreted not to allow departures from the VASRD
schedule, the language in section 1216a precluding such departures “would be
superfluous,” contrary to a canon of construction. Def.’s Surreply at 6 (citing
Duncan v. Walker, 533 U.S. 167, 174 (2001)). It also stresses that the 2008 act “did
not require retroactive application of any VASRD provision vis[-d-]vis disability
determinations,” Def.’s Supp’! Br., ECF No. 104, at 4.

The Court does not see how the surplusage canon is relevant, as it is not
section 1216a --- enacted several years after Dr. Berkowitz was separated from the
Army --- but section 1201 that matters for our purposes, and superfluity is to be
avoided within the confines of the statute being construed, not in comparison with
another statute. See Duncan, 533 U.S. at 172-75. Moreover, to the extent that
section 1216a can be considered a declaration of one Congress’s opinion of a prior
one’s intent, see Consumer Prod. Safety Comm'n v. GTE Sylvania, Inc., 447 U.S.

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102, 118 n.13 (1980), it would seem to indicate that departures from the VASRD
schedule were not intended. In any event, the unambiguous language of section
1201 requiring that the VASRD schedule be followed, does not render any of the
terms of section 1216a superfluous --- as the latter modified this mandate by
authorizing departure from the VASRD schedule when the schedule’s utilization
was not feasible. 10 U.S.C. § 1216a(1)(A).9 The latter enactment clearly modified
the procedure to be followed in making determinations under the former. It follows
that the above-adopted interpretation of 10 U.S.C. § 1201 does not render any part
of 10 U.S.C. § 1216a meaningless.

It is undisputed that plaintiff would have received a higher disability rating
had the VASRD schedule been applied to his sleep apnea condition. The application
of the DOD instruction in plaintiffs case was clearly inconsistent with the plain and
unambiguous text of section 1201 and of the VASRD schedule. The Supreme Court
has long maintained that, when a statute’s meaning is clear, an agency has no
authority to disregard such meaning. Chevron, U.S.A., Inc. v. Natural Res. Def.
Council, Inc., 467 U.S. 837, 843 (1984). Defendant should have apphed the VASRD
schedule, diagnostic code 6847, in Dr. Berkowitz’s case, resulting in a disability
rating of at least 50% and a medical retirement.

It follows from the foregoing that the board erred by applying a legally infirm
standard to the detriment of plaintiff. Therefore the board’s decision was not in
accordance with law and must be reversed.

3. Whether Plaintiff's Benefits Are Includible in Gross Income

The final issue before the Court is whether Dr. Berkowitz’s benefits were
improperly determined to be includible in his gross income, and thus subject to tax.
Plaintiff makes two arguments in favor of the non-taxability of his benefits. First,
he argues that the PEB determination that his sleep apnea was not the direct result
of combat or war-time service was not supported by substantial evidence. Pl.’s
Reply at 21-23 (discussing Army Reg. 635-40 { 4-19(k)). Second, he argues that,

 

9 Section 1216a also modified the medical retirement proceedings by requiring that
a particular tribunal’s interpretations be followed, and restricting the service
secretaries’ ability to depart upwards from the VASRD schedule. See 10 U.S.C.

§ 1216a(a)(1)-(2).

10 This conclusion renders a number of Dr. Berkowitz’s other arguments (such as
those related to the use and meaning of the word “severe”) moot. Additionally, a
50% disability rating (the lowest he would receive under a proper rating of his sleep
apnea) entitles him to a medical retirement, making Dr. Berkowitz’s arguments
concerning a reserve retirement similarly moot --- as he would prefer the medical
retirement to a reserve retirement. Oral Argument (September 2, 2011).

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notwithstanding this determination, his benefits should still be excluded from gross
income because he entered military service before September of 1975, and his
disability benefits are therefore not subject to tax. Pl.’s Reply at 23-24; see also 26
U.S.C. § 104(b)(4). The Court agrees with plaintiffs second argument, and thus
need not reach his first argument.

The record indicates that Dr. Berkowitz was in an inactive status with the
United States Army Reserve as of late February 1975. AR at 272, 285; see also AR
at 199 (indicating 60 months of service prior to his August 1976 commission). He
remained in the military, in one capacity or another, from that date until his
eventual discharge. See AR at 272, 285; see also Def.’s Stat. {J 2-7, 33; Pl.’s
Counter-Stat. 7 2-7, 33. Under 26 U.S.C. § 104, a taxpayer who was a member of
an armed service on September 24, 1975, does not have his military benefits
received due to illness or injury included in gross income. 26 U.S.C. § 104(a)(4),
(b)(2)(B). Apparently overlooking his prior service and focusing on Dr. Berkowitz’s
1976 commission as a Second Lieutenant, defendant determined his benefits were
includible in gross income. What matters, however, is that Dr. Berkowitz was a
member of an armed service (including the reserve component), and not his
commissioning as an officer. The record and the law being clear, we must reverse
the board’s determination that these benefits are subject to the federal income tax.

II. CONCLUSION

For the foregoing reasons the government’s motion to dismiss the education
benefits claim is GRANTED, and its motion for judgment on the administrative
record is DENIED; and plaintiffs cross-motion for judgment upon the
administrative record is GRANTED. This matter is hereby REMANDED to
ABCMR so that the proper VASRD standard can be applied to plaintiffs sleep
apnea condition, and the proper back pay awarded and orders issued in accordance
with plaintiffs higher disability rating.!!

Pursuant to RCFC 52.2(b), the Court provides the following directions to the
parties on remand.

(1) The remand period shall terminate on March 4, 2015, and
proceedings in this case are STAYED until that date. If the ABCMR
has not issued a decision on or by March 4, 2015, the parties shall
follow the procedures set forth in RCFC 52.2(d).

 

11 Because plaintiff is entitled to a disability retirement due to the 50% rating for
sleep apnea, the dispute over his proper rank for retirement is also moot. Under 10
U.S.C. § 1372(2) (2012), plaintiff is entitled to be retired in the “highest temporary
grade or rank in which he served satisfactorily,” which based on the record appears
to be lieutenant colonel.

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(2) The ABCMR shall:

(a) assign Dr. Berkowitz a new disability rating for his sleep
apnea, based on the ratings criteria for diagnostic code 6847
contained in 38 C.F.R. § 4.97;

(b) issue any orders, and award any back pay or other relief Dr.
Berkowitz is entitled to on account of the new disability rating;
and

(c) certify that his benefits should be excluded from gross income
due to his membership in an armed service on September 24,
1975.

(3) Pursuant to RCFC 52.2(b)(1)(D), defendant shall file a status
report on or by December 3, 2014, and a second one on or by March
3, 2015, indicating the status of the proceedings before the ABCMR.

(4) When proceedings before the ABCMR have concluded, the ABCMR
shall forward four copies of its decision to the Clerk of the United
States Court of Federal Claims pursuant to RCFC 52.2(e). Within
thirty (30) days of the filing of the ABCMR’s decision, the parties
shall then file the notices required by RCFC 52.2(6)(1).

ZETA
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IT IS SO ORDERED.

Vv

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